Case 1:21-cr-00409-CM   Document 30-7   Filed 09/10/22   Page 1 of 2




             EXHIBIT G
        Case 1:21-cr-00409-CM            Document 30-7          Filed 09/10/22       Page 2 of 2



Honorable Colleen McMahon
United States District Judge
Southern District of New York


Dear Judge McMahon,



My name is James Leonard and I am Freedom Turner’s older cousin. Our moms are sisters, so we were
close growing up. We lived in the same house as his mother and sisters, until he was born and they
moved out. Freedom is a good person. He’s caring, he’s trusting, and he’s always there if you need
something. He took care of my kids for me and helped me out after my wife passed away in August
2020. There were six kids and he would help feed them or do anything they needed. He’s like that for
the whole family.

We always had each other and our family growing up. I think Freedom had a good childhood until his
mom passed away. He went through a lot and he had nobody else like his mom, so it really affected him
hard. He had his father, but it’s different; your father isn’t your mother. We had a lot of passings in the
family and a lot of deaths. There was also family moving away or some going to prison, including me. He
didn’t have any role models. I feel like he got more into the streets after his mom passed because he
didn’t know how to handle everything by himself.

A lot changed after he got arrested. Freedom always helped me out and was like my little brother. It’s
hard not having him here to help me out with the kids. I haven’t even been able to talk to him since he’s
been incarcerated. I know his kid comes up to visit from Atlanta.

I think Freedom wants to be more involved in his kid’s life moving forward. He’s helped his kid out a lot;
that’s one of the biggest things for him. Whenever he has money he buys clothes, Pampers, or whatever
he can to send down to Atlanta. He’s very involved in his son’s life, and his son is one of the reasons he
wants to get out as quickly as possible.

He’s is good with music and I know that’s what he really wanted to do, his passion. He’s got notebooks
full of writing and music and he would use his spare time to write. He was hoping to move to Atlanta to
be around his son where it’s more quiet and peaceful. His family will continue to support him after he
gets out and I know my mom and I will definitely continue to help him out. His brother or his father can
help him get a job, a place to stay, and other resources like that. I would let him stay with me again if
he’s allowed to.

Freedom is a good kid who’s had nobody there to guide him. He’s always there for his son and his
family. He just made some wrong choices.



Sincerely,

James Leonard
